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cAS 2458        (Rev.I l/16) Judgment
                                    in a CriminalCas€
DC CustodyTSR



                                     UNITBISrarnsDrsrnrcrCounr
                                                 SOUTI{ERNDISTRICT OF GEORGIA
                                                      SAVANNAH DIVISION

            UNITED STATESOF AMERICA                                  )       JUDGMENT IN A CRIMINAL CASE
                        v.                                           i
                                 Jr.
               DarvinE$quireSFand^
                                                                     )       CaseNumber:                  4:16CR00353-11
                                                                     )
                                                                     ;       USM Number:                  70640-019
                                                                     )                                                                             'r1

                                                                     )                                                                      '.J7

                                                                                             Jr-
                                                                                      Boryqran,
                                                                             D. Campbell                              ;          l:   9I
                                                                             Defendaflt'sAttomey
THE DEF'ENDANT:
X pleadedguilty to a lesserincludedoffenseof Count l.
I   pleadednolo contendereto Count(s)                    which was acceptedby the coun.

!   was found guilty on Coun(s)                    aftera pleaof not gui\.                                                .tr'        )ti
                                                                                                                  t

The defendantis adjudicatedguilty ofthis offense:                                                                 t*
Title & Section               Nature ofOffense                                                                 OffenseEnded                   Count

21 U.S.C.$ 846;2l             Conspiracy          with intentto distribute,andto distribute,less
                                         to possess                                                                  24, 2014
                                                                                                              December                              I
U.S.C.0 841(a)(l)and          than50 kilograms ofmarihuana
(bXl)(D);
       18u.s.c.$2
     The defendantis sentencedasprovided in Pages2 through               7       ofthis judgment. The sentenceis imposedpursuantto the
         ReformAct of 1984.
Sentencing
E Th€ defendanthasbeenfound not guilty on Count(s)
E Count                                  is dismissed as to this defendant on the motion ofthe Uniled States

         It is orderedthat the defendantmust notify the United Staiesattomey for this district within 30 days of any changeof narne,
                                                                                  imposedby this judgnrentare fully paid. If orderedto
residence,or mailing addressuntil all fines,restitution,costs,and specialassessments
pay restitution,the defendantmust notiry the coud and United Sioiesattomeyofmaterial chaagesin economiccircumstances.


                                                                         Date of Imposition of Judgment




                                                                         Signature
                                                                                 ofJudge



                                                                         William T. Moore, Jr.
                                                                         Judge,U.S. District Court
                                                                         NameandTitle ofJudge

                                                                                    2
                                                                         uate
                                                                                 .v4'f. z 2e/7
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DC CustodyTSR

DEFENDANT:                   Darvin EsquireStnnd, Jr.
CASENTMBER:                  4:16CR00353-ll


                                                                  IMPRJSONMENT

               The defendantis herebycommittedto the custodyofthe FederalBureauofPrisons to be imprisonedfor a total
               term of: 60 months.


     A         The courtmakesthe followingrecommendations          to theBureauofPrisons:
               It is recomrnended that the defendantbe given credit towardthis federalsentencefor all time servedin custodysinceFebruary9.
               ZQIZ,that is not creditedtoward anothersentence.It is also recommendedthat the defendantbe evaluatedby Bweau of Prisons
               omcials to establishhis participationin an appropriateprogramof substanceabusetreatrnentand counselingduring his term of
               incarceration.Designation   to the federalfacility in Atlanta,Georgia,is recommened.

     tr        The defendantis remandedto the custodyofthe United StatesMa6hal.

     tr        The defendantshall surrend€rto the United StatesMarshal for this district:

          nat                                        tr    a.m.    n p.rn.        on
          tr       asnotified by the United StatesMaxshal.

     !         The defendantshall sunenderfor serviceofsentenceat the institution designatedby the BureauofPrisons:

          !        before2 p.m.on

          tr       asnotified by the United StatesMarshal.

          tr       asnotified by the Probationor Pretrial ServicesOffice.


                                                                      RETURN
I haveexecutedthisjudgment asfollows:




          Defendantdeliveredon

at                                                        , wilh a certifiedcopyofthisjudgment.


                                                                                                     IJNITED STA]ES MARSHAI



                                                                             By
                                                                                                  DEPUTY ITNITED STATESN4ARSHAL
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DC CustodyTSR

DEFENDANT:             DarvinEsquireStrand,Jr.
CASENUMBERT            4rr6CR00353-11


                                                      SUPERVISEDRELEASE
Upon releasefrom imprisonment,you will be on supervisedreleasefor a term of 3 vears.

                                                  MANDATOR.Y CONDITIONS

1.    You mustnot commit anotherfederal.state,or local crime.
2.    You mustnot unlawfullypossess a controlledsubstalce.
3.    You mustrefrain from any unlawful useof a controlledsubstance.You must submitto I drug test within I 5 daysof release
      from imprisonmentand atleast2 penodicdrug teststhereafter,as determinedby the court.
      n The abovedrug testingcondition is suspended,basedqrrthe coufi's determinationthat you posea low risk of future
              abuse.(heck.IapplkableJ
      substance
4.    8 You must cooperatein the collection ofDNA asdirectBdby the probationoflicer. (Check,
                                                                                          ifappticabte.)
5.    E You rnustcomplywith therequirements    of the SexOffenderRegistration   andNotificationAct (42 U.S.C.$ 16901,el seq.)as
      directedby theprobationofficer, the BureauofPrisons, of any statesexoffenderregistrationagencyin which he or sheresides,
      works, is a student,or wasconvictedofa qualif,ing offerne. (Check,lfapplicable.)
6.    ! You mustparticipatein an approvedprogramfor domqsticviolence. (Check,     iJappticable.)

You mustcomply with the standaxdconditionsthat havebeenadoptedby this court aswell aswith any otherconditions
on the attachedpage.
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DC CustodyTSR

DEFENDANT:              DarvinEsquireStrand,Jr.
CASENUMBERT             4:16CR00353-ll


                                    STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervisedrelease,you must comply with the following standardconditionsof supervision. Theseconditionsare imposed
becausethey establishthe basic expectationsfor your behaviorwhile on supervisionand identi! the minimum tools neededby probation
offlcers to keepinformed,report to the court about,andbring aboutimprovementsin your conductandcondition.


   l.   You must report to the probationoffice in the federaljudicial distdct whereyou are authorizedto residewithin 72 hours of your
        releasefrom imprisonment,unlessthe probationoffrcer instructsyou to report to a different probation ofTiceor within a different
        time frame.
  2.    After initially reportingto the probationoffice, you will receiveinstructionsfrom the court or the probationofficer abouthow and
        whenyou mustreport to the probationofficer, andyou mustreport to the probationofficer as instructed.
  3.    You mustnot knowingly leavethe federaljudicial district where you are authorizedto residewithout first gettingpermissionfrom
        the court or the probationofficer.
  4.    You musl answertruthfully the questionsaskedby your pn:obation
                                                                     officer.
  5.    You must live at a place approvedby the probation oflrcer. lf you plan to changewhere you live or any4hingabout yow living
        anangements(such as the people you live with), you must notifu the probation oflcer at least 10 days before the change. If
        noti$zingthe probationofficer in advanceis not possibledue to unanticipatedcimmstances, you must notify the probationoffrcer
        within 72 hoursof becomingawareofa changeor expectedchange.
  6.    You mustallow the probationoffrcer to visit you at any time at youl homeor elsewhere,andyou must permit the probation
        officer !o take any itemsprohibitedby the conditionsofyour supervisionthat he or sheobservesin plain view.
  7.    You mustwork full time (at least30 hoursper week) at a lawful type of emplo)ment,unlessthe probationofficer excusesyou fron
        doingso. Ifyou do not havefull-timeemployment      you musttry to find full-timeemployment,  unlessthe probationoffrcerexcuses
        you from doing so. If you plan to changewhere you work or anl4hing about your work (such as your position or your job
        responsibilities),you must notify the probationofncer at least 10 daysbeforethe change. If noti8/ing the probationofficer at least
        10 days in advanceis not possibledue to unanticipatedcircumstalces,you must notiry the probationofficer within 72 hours of
        becomingawareofa changeor expectedchange.
  8.    You must not communicateor interactwith someoneyou know is engagedin criminal activity. Ifyou know someonehas
        beenconvictedofa felony, you mustnot krowingly comrrunicateor interactwith that personwithout first gettingthe
        permissionof the probationofficer.
  9.    If you are arestedor questionedby a law enforcementofficer, ,'ou mustnotily the probationofficer within 72 hours.
 10. You mustnot own, possess,
                             or haveaccessto a hrearm,ammunition,destructivedevice,or dangerous       weapon(i.e. anythingthat
     was designedor wasmodified for, the specific purposeof causingbodily injury or deathto anotherpersonsuchas a nunchakusor
     tasers).
 I 1.   You must not act or make any agreementwith a law enforcementagencyto act as a confidential human sourceor informant
        witiout first gettingpermissionfrom the court.
 12. If the probation officer determinesthat you pose a risk to arother person(including an organization),the probation officer may
     require you to notit/ the personaboutthe risk and you must comply with that instruction. The probationoflicer may contactthe
     personand confirm thatyouhave notified that personabouttherisk.
                                   ofthe probationofficerrelatedto theconditionsof supervision.
 13. You mustfollow the instructions

U.S.Probation Office UseOnly
A U.S. probation offrcer has instructedme on the conditions specified by the court and has provide me with a vritten copy of this
judgment containingthese conditions. For further information regardingthese conditions, seeOreryiew of Probation and Supemised
ReleaseConditions,availableat: www.uscourts.gov.

Defendant'sSignature
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 DC CustodyTSR

 DEFENDANT:            Ddvin EsquireStrand,Jr.
 CASENUMBERI           4:I6CR00353-1I


                                      SPECIAL CONDITIONS OF SUPERVISION

       You must submit to substanceabusetestingto determinejfyou haveuseda prohibited substance.You must not attemptto obstruct
       or tanper with the testingmethods.

z.     You must participatein an educationalservicesprogramand follow the rules andregulationsof that program. Suchprogramsmay
       include high schoolequivalencyprepaxation.

       You must complete40 hours of communiryservicewithin the first 12 monthsof supervision. The probationoflicer will supervise
       yow participationin the programby approvingthe programand veri!,ing completedhours.

4.     You mustsubmityour person,property,house,residence,       office,vehicle,papers,computer*(asdefinedin 18 U.S.C.$ 1030(e)(l)),
       other electronic communicationsor dala storagedevices or media, to a searchconductedby a Unired Statesprobalion officer.
       Failure to submitto a searchmay be groundsfor revocationofrelease.You must wam any other occupafisthat the prernisesmay be
       subjectto searchespursua.ntto this condition. The probationofficer may conducta searchunderthis condition only whenreasonable
       suspicionexiststhat you haveviolated a condition of supervisionandthat the areasto be searchedcontainevidenceofthis violation.
       Any searchmustbe conductedat a reasonabletime andin a reasonablemanner.
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DEFENDANT:              Darvin EsquireStrand,Jr.
CASENUMBERI             4:16CR00353-11


                                           CRIMINAL MONETARY PENALTIES
    The defendartmustpay the total criminal monetarypenaltiesunderthe scheduleof palments on Sheet6.
                                         *
                Assessment JVTA Assessment                            Fin€                                   Restitution
TOTALS          $1OO

n     The detemination of restitutionis deferreduntil                                   An AmendedJudgnent in s Ciminal Cose(Ao245c)
      will be enteredafter suchdetermination.

n     The defendantmust makerestitution(including comrnunityrestitution)to the following payeesin the amountlisted below.

      If the defendantmakes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwisein the priority order or percentage paymentcolumnbelow. However,pursuantto 18 U.S.C. $ 3664(i),all nonfederal
      victims must be paid beforethe United Statesis paid.

Name ofPavee                               Total Loss**                           RestitutiooOrder€d                  Prioritv or P€rcentage




TOTALS

n     Restitutionamountorderedpursuantto plea agreement S

!     The defendantmustpay intereston restitutionanda fine of morethan $2,500,unlessthe restitutionor fine is paid in ftll beforethe
      fifteenthdayafterthe dateofthe judgnent,purswrntto 18U.S.C.$ 3612(0. All ofth€ paymentoptionson Sheet6 maybe subject
                                anddefault,pursuantto 18U.S.C.$ 3612(g).
      to penaltiesfor delinquency

!     The court determinedthat the defendantdoesnot havethe ability to pay interestandit is orderedthat:

     n    the interestrequirementis waived for the            !   fine        !     restitution.

     E    the interestrequirementfor the           n   fine       I      restitutionis modified asfollows:

* Justicefor Victimsoftrafficking Act of20l5, Pub.L. No. I 1+22.
** Findingsfor the total amountoflossesarerequted underChapters109,4,110, I l0A, and l13A of Title 18 for offensescommittedon
or afterSeptember  13, 1994,but beforeApril 23, 1996.
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DC CustodyTSR

DEFENDANT:                 Ddvin FJquire Stand, Jr.
CASENUMBER:                4:16CR00353-11


                                                         SCHEDULE OF PAYMENTS
              the defendant'sability to pay, pa)imentofthe total criminal monetarypenaltiesis dueasfollows:
Having assessed

A    E      Lump sumpaymentof$                     100             dueimnrediately,
                                                                                 balancedue.

             tr   notlaterthan                                        ,or
             n    rnaccordancefl         C,     tr D,          i   E,or   !   Fbelow;or
B    !      Pa).nentto beginimmediaiely(maybecombinedwith                     !   C,      !   D, or        ! F below);or
C    E      Paymentin equal                        (e.g.,week|y,hotlthly, quaierly) rnstallments of $                          over a period of
                          (e.9.,mo thi or years), to commence _                    (e.g.,30 or 60 days) after the date ofthis judgment; or

D    E      Paymentin equal                     (e.g.,weeuy, monthly,quafie y.) installrnents of $                     overa periodof
                         (e.g.,monthsor yeats),to commence        .          (".g., 30  or 60 ddys)after teleasefrom imprisonmentto a
            term of supervision;or

E    !      Paynent during the term of supervisedreleasewill commencewithin   _(ec.,        30 or 60 days)afterreleaseftom
            imprisonment.The court will setthe paymentplan baqedon an assessment
                                                                              ofthe defendant'sability to pay at that time; or

F    !      Specialinstructionsregardingthe paymentofcriminal monetarypenalties:




Unless the court has expresslyorderedotherwise,if this judgment imposesimprisonnent, paymentof ciminal monetarypenaltiesis du€
during imprisonment.All criminal monetarypenalties,exceptthosepaymentsmadethrough&e FederalBureauofPrisons' InmateFinancial
ResponsibilityProgam, aremadeto the clerk ofthe court.


The defendantshall receiveoedit for all pa)mentspreviouslymFdetoward any criminal monetarypenaltiesimposed.

tr       Joint and Several
         DefendantandCo-DefendantNamesandCaseNumbers(rrcludingdefendant
                                                                     nua6er./,Total Amount,Joinl and SeveralAmount,
         and correspondingpayee,if appropriate.



tr       The defendantshall pay the cost ofprosecution.

D        The defenda:rtshall pay the following court cost(s):

!        The defendantshall forfeit the defendant'sinterestin the fotlowing propertyto the United States:

Paymenlsshall be appliedin the following order:(l) assessment,
                                                            (2) restinldonprincipal, (3) restitutioninterest,(4) fine principal,
(5) fine interest,(6) communityrestitutioq(7) JVTA Assessment,
                                                             (8) penalties,
                                                                          and(9) costs,includingcostofprosecutionandcourtcosts.
